
705 S.E.2d 752 (2011)
STATE
v.
Artives Jerod FREEMAN.
No. 113PA10-1.
Supreme Court of North Carolina.
February 3, 2011.
Robert C. Montgomery, Senior Deputy Attorney General, for State of North Carolina.
Benjamin Dowling-Sendor, Assistant Appellate Defender, for Freeman, Artives Jerod.
Peter S. Gilchrist, III, District Attorney, for State.
The following order has been entered on the motion filed on the 5th of November 2010 by Defendant to Take Judicial Notice:
"Motion Dismissed as Moot by order of the Court in conference, this the 3rd of February 2011."
